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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA



OWEN DIAZ,                    )
                              )
      Plaintiff,              )
                              )
      v.                      )
                              )
                              )          No. 17-cv-6748
                              )
TESLA, INC., et al.,          )
                              )
      Defendants              )
                              )
______________________________)


                     DRAFT FINAL JURY INSTRUCTIONS




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                                            No. 1
                                        DUTY OF JURY

        Members of the Jury: Now that you have heard all of the evidence, it is my duty to
instruct you on the law that applies to this case.

        A copy of these instructions will be sent to the jury room for you to consult during your
deliberations.

        It is your duty to find the facts from all the evidence in the case. To those facts you will
apply the law as I give it to you. You must follow the law as I give it to you whether you agree
with it or not. And you must not be influenced by any personal likes or dislikes, opinions,
prejudices, or sympathy. That means that you must decide the case solely on the evidence before
you. You will recall that you took an oath to do so.

       Please do not read into these instructions or anything that I may say or do or have said or
done that I have an opinion regarding the evidence or what your verdict should be.

        First, I will remind you of some of the instructions I gave you at the outset on evaluating
the evidence, before I get into the substantive instructions.




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                               No. _
           BURDEN OF PROOF—PREPONDERANCE OF THE EVIDENCE

        When a party has the burden of proving any claim or affirmative defense by a
preponderance of the evidence, it means you must be persuaded by the evidence that the claim
or affirmative defense is more probably true than not true.

       You should base your decision on all of the evidence, regardless of which party presented
it.




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                                   No. _
                             WHAT IS EVIDENCE

The evidence you are to consider in deciding what the facts are consists of:

     1. the sworn testimony of any witness;
     2. the exhibits that are admitted into evidence;
     3. any facts to which the lawyers have agreed; and
     4. any facts that I [may instruct] [have instructed] you to accept as proved.




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                                          No. _
                                 WHAT IS NOT EVIDENCE

        In reaching your verdict, you may consider only the testimony and exhibits received into
evidence. Certain things are not evidence, and you may not consider them in deciding what the
facts are. I will list them for you:

       (1) Arguments and statements by lawyers are not evidence. The lawyers are not
       witnesses. What they have said in their opening statements, may say in their closing
       arguments and at other times is and has been intended to help you interpret the evidence,
       but it is not evidence. If the facts as you remember them differ from the way the lawyers
       have stated them, your memory of them controls.

       (2) Questions and objections by lawyers are not evidence. Attorneys have a duty to their
       clients to object when they believe a question is improper under the rules of evidence.
       You should not be influenced by the objection or by the court’s ruling on it.

       (3) Testimony that is excluded or stricken, or that you have been instructed to
       disregard, is not evidence and must not be considered. In addition some evidence
       was received only for a limited purpose; when I have instructed you to consider certain
       evidence only for a limited purpose, you must do so and you may not consider that
       evidence for any other purpose.

       (4) Anything you may have seen or heard when the court was not in session is not
       evidence. You are to decide the case solely on the evidence received at the trial.




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                                      No. _
                          EVIDENCE FOR LIMITED PURPOSE

       Some evidence may be admitted only for a limited purpose.

       When I have instructed you that an item of evidence has been admitted only for a limited
purpose, you must consider it only for that limited purpose and not for any other purpose.




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                                      No. _
                      DIRECT AND CIRCUMSTANTIAL EVIDENCE

        Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such
as testimony by a witness about what that witness personally saw or heard or did. Circumstantial
evidence is proof of one or more facts from which you could find another fact. You should
consider both kinds of evidence. The law makes no distinction between the weight to be given to
either direct or circumstantial evidence. It is for you to decide how much weight to give to any
evidence.




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                                         No. _
                                 RULING ON OBJECTIONS

         There are rules of evidence that control what can be received into evidence. When a
lawyer asks a question or offers an exhibit into evidence and a lawyer on the other side thinks
that it is not permitted by the rules of evidence, that lawyer may object. If I overrule the
objection, the question may be answered or the exhibit received. If I sustain the objection, the
question cannot be answered, and the exhibit cannot be received. Whenever I sustain an
objection to a question, you must ignore the question and must not guess what the answer might
have been.
         Sometimes I may order that evidence be stricken from the record and that you disregard
or ignore that evidence. That means when you are deciding the case, you must not consider the
stricken evidence for any purpose.




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                                               No. _
                               CREDIBILITY OF WITNESSES
        In deciding the facts in this case, you may have to decide which testimony to believe and
which testimony not to believe. You may believe everything a witness says, or part of it, or none
of it.
        In considering the testimony of any witness, you may take into account:
             (1) the opportunity and ability of the witness to see or hear or know the things
             testified to;
             (2) the witness’s memory;
             (3) the witness’s manner while testifying;
             (4) the witness’s interest in the outcome of the case, if any;
             (5) the witness’s bias or prejudice, if any;
             (6) whether other evidence contradicted the witness’s testimony;
             (7) the reasonableness of the witness’s testimony in light of all the evidence; and
             (8) any other factors that bear on believability.
         Sometimes a witness may say something that is not consistent with something else he or
she said. Sometimes different witnesses will give different versions of what happened. People
often forget things or make mistakes in what they remember. Also, two people may see the same
event but remember it differently. You may consider these differences, but do not decide that
testimony is untrue just because it differs from other testimony.
         However, if you decide that a witness has deliberately testified untruthfully about
something important, you may choose not to believe anything that witness said. On the other
hand, if you think the witness testified untruthfully about some things but told the truth about
others, you may accept the part you think is true and ignore the rest.
        The weight of the evidence as to a fact does not necessarily depend on the number of
witnesses who testify. What is important is how believable the witnesses were, and how much
weight you think their testimony deserves.




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                                             No. _
                                         IMPLICIT BIAS

        We all have feelings, assumptions, perceptions, fears, and stereotypes about others. Some
biases we are aware of, and others we might not be fully aware of, which is why they are called
implicit or unconscious biases. No matter how unbiased we think we are, our brains are hard-
wired to make unconscious decisions. We look at others and filter what they say through our
own personal experience and background. Because we all do this, we often see life and evaluate
evidence in a way that tends to favor people who are like ourselves, or who have had life
experiences like our own. We can also have biases about people like ourselves. One common
example is the automatic association of male with career and female with family. Bias can affect
our thoughts, how we remember what we see and hear, whom we believe or disbelieve, and how
we make important decisions.

        As jurors, you are being asked to make an important decision in the case. You must one,
take the time you need to reflect carefully and thoughtfully about the evidence.

        Two, think about why you are making the decision you are making and examine it for
bias. Reconsider your first impressions of the people and the evidence in this case. If the people
involved in this case were from different backgrounds, for example, richer or poorer, more or
less educated, older or younger, or of a different gender, gender identity, race, religion or sexual
orientation, would you still view them, and the evidence, the same way?

        Three, listen to one another. You must carefully evaluate the evidence and resist, and
help each other resist, any urge to reach a verdict influenced by bias for or against any party or
witness. Each of you have different backgrounds and will be viewing this case in light of your
own insights, assumptions and biases. Listening to different perspectives may help you to better
identify the possible effects these hidden biases may have on decision making.

       And four, resist jumping to conclusions based on personal likes or dislikes,
generalizations, gut feelings, prejudices, sympathies, stereotypes, or unconscious biases.

       The law demands that you make a fair decision based solely on the evidence, your
individual evaluations of that evidence, your reason and common sense, and these instructions.




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                                         No. _
                                PUBLICITY DURING TRIAL

        If there is any news media account or commentary about the case or anything to do with
it, you must ignore it. You must not read, watch or listen to any news media account or
commentary about the case or anything to do with it. The case must be decided by you solely
and exclusively on the evidence that will be received in the case and on my instructions as to the
law that applies. If any juror is exposed to any outside information, please notify me
immediately.




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                                         No. _
                                     TAKING NOTES

        You may have taken notes to help you remember the evidence. Whether or not you took
notes, you should rely on your own memory of the evidence. Notes are only to assist your
memory. You should not be overly influenced by your notes or
those of other jurors.




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                                             No. _
                                 STIPULATED TESTIMONY
       The parties have agreed what [witness]’s testimony would be if called as a witness. You
should consider that testimony in the same way as if it had been given here in court.




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                                          No. _
                                  STIPULATIONS OF FACT

       The parties have agreed to certain facts [to be placed in evidence as Exhibit __] [that will
be read to you]. You must therefore treat these facts as having been proved.




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                                            No. _
                                      JUDICIAL NOTICE

         The court has decided to accept as proved the fact that [state fact]. You must accept this
fact as true.




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                                       No. _
                      DEPOSITION IN LIEU OF LIVE TESTIMONY

         A deposition is the sworn testimony of a witness taken before trial. The witness is placed
under oath to tell the truth and lawyers for each party may ask questions. The questions and
answers are recorded. When a person is unavailable to testify at trial, the deposition of that
person may be used at the trial.
         The deposition of KEVIN MCGINN was taken on June 17, 2019. The deposition of
DEMETRIC DI-AZ was taken on May 15, 2018. The deposition of ERIN MARCONI was taken
on October 21, 2019. Insofar as possible, you should consider deposition testimony, presented to
you in court in lieu of live testimony, in the same way as if the witness had been present to
testify.




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                                    No. _
                        IMPEACHMENT EVIDENCE—WITNESS

       The evidence that a witness lied under oath on a prior occasion may be considered,
along with all other evidence, in deciding whether or not to believe the witness and how much
weight to give to the testimony of the witness and for no other purpose.




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                                         No. _
                               USE OF INTERROGATORIES

        Evidence was presented to you in the form of answers of one of the parties to written
interrogatories submitted by the other side. These answers were given in writing and under oath
before the trial in response to questions that were submitted under established court procedures.
You should consider the answers, insofar as possible, in the same way as if they were made from
the witness stand.




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                                      No. _
                          USE OF REQUESTS FOR ADMISSION

       Evidence was presented to you in the form of admissions to the truth of certain facts.
These admissions were given in writing before the trial, in response to requests that were
submitted under established court procedures. You must treat these facts as having been proved.




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                                           No. _
                                      EXPERT OPINION

       You have heard testimony from Anthony Reading, Amy Oppenheimer and Charles
Mahla who testified to opinions and the reasons for their opinions. This opinion testimony is
allowed, because of the education or experience of this witness. Such opinion testimony should
be judged like any other testimony. You may accept it or reject it, and give it as much weight as
you think it deserves, considering the witness’s education and experience, the reasons given for
the opinion, and all the other evidence in the case.




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                                 No. _
             CHARTS AND SUMMARIES NOT RECEIVED IN EVIDENCE

       Certain charts and summaries not admitted into evidence have been shown to
you in order to help explain the contents of books, records, documents, or other evidence in the
case. Charts and summaries are only as good as the underlying evidence that supports them.
You should, therefore, give them only such weight as you think the underlying evidence
deserves.




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                                  No. _
                CHARTS AND SUMMARIES RECEIVED IN EVIDENCE

        Certain charts and summaries have been admitted into evidence to illustrate information
brought out in the trial. Charts and summaries are only as good as the testimony or other
admitted evidence that supports them. You should, therefore, give them only such weight as you
think the underlying evidence deserves.




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                                  No. _
             CORPORATIONS AND PARTNERSHIPS—FAIR TREATMENT

       All parties are equal before the law and a corporation is entitled to the same fair and
conscientious consideration by you as any party.




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                               No. _
     LIABILITY OF CORPORATIONS—SCOPE OF AUTHORITY NOT IN ISSUE

       Under the law, a corporation is considered to be a person. It can only act through its
employees, agents, directors, or officers. Therefore, a corporation is responsible for the acts of
its employees, agents, directors, and officers performed within the scope of authority.




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                                      No. _
                        AGENT AND PRINCIPAL—DEFINITION

       An agent is a person who performs services for another person under an express or
implied agreement and who is subject to the other’s control or right to control the manner and
means of performing the services. The other person is called a principal. One may be an agent
without receiving compensation for services. The agency agreement may be oral or written.




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                                    No. _
                      AGENT—SCOPE OF AUTHORITY DEFINED

       An agent is acting within the scope of authority if the agent is engaged in the
performance of duties which were expressly or impliedly assigned to the agent by the principal.




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                                           No. _
                                     APPARENT AGENCY

        If Tesla has intentionally or unintentionally caused the plaintiff to believe that NetSource
or Citistaff or Chartwell was the principal’s agent, a relationship known as “apparent agency”
may be created, even if no actual authority was ever given to the agent. Apparent agency,
however, can never arise solely from the acts of the alleged agent.

       In order to establish apparent agency, the plaintiff must prove that:

               1.     The alleged principal caused, by representation or action, the plaintiff to
believe that NetSource, Citistaff or Chartwell was the principal’s agent;

               2.      The plaintiff relied on this representation or action to his detriment; and

               3.      Such reliance was reasonably justified.

       If an apparent agency has been established, the principal is liable for the acts of the
apparent agent just as if the principal had authorized the agent from the outset.




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                                            No. _
                                        RATIFICATION

       A purported principal who ratifies the acts of someone who was purporting to act as the
principal’s agent will be liable for the acts of that purported agent, provided that the principal
made a conscious and affirmative decision to approve the relevant acts of the purported agent
while in possession of full and complete knowledge of all relevant events.




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                                No. _
 ACT OF AGENT IS ACT OF PRINCIPAL—SCOPE OF AUTHORITY NOT IN ISSUE

       Any act or omission of an agent within the scope of authority is the act or omission of the
principal.




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                                            No. _
                                     JOINT EMPLOYMENT

        A person can have more than one employer. The primary consideration in determining
whether a defendant is an employer is the extent of control that it may exercise over the details of
the plaintiff’s work. In making this determination, all of the incidents of the relationship must be
assessed and weighed with no one factor being decisive. Factors that you may examine include
but are not limited to, the skill required; the source of the instrumentalities and tools; the location
of the work; the duration of the relationship between the parties; whether the hiring party has the
right to assign additional projects to the hired party; the extent of the hired party's discretion over
when and how long to work; the method of payment; the hired party's role in hiring and paying
assistants; whether the work is part of the regular business of the hiring party; whether the hiring
party is in business; the provision of employee benefits; and the tax treatment of the hired party.




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                                          No. _
                                   PLAINTIFF’S CLAIMS

       Plaintiff brings three separate claims. These claims are for:
            1. Hostile Work Environment based on Race
            2. Failure to Prevent Harassment from Occurring
            3. Negligent Supervision and Retention of an Employee

        These claims are described in the following instructions. The first two claims are civil
rights claims brought under federal law and the third claim is brought under state law. Each
claim involves a distinct set of elements. Some elements are common to more than one claim.
That is, there are some things that a plaintiff must show to succeed on one claim that plaintiff
must also show to succeed on one or more other claims. Although the claims have some
elements in common, you should consider each claim individually. Plaintiff can succeed on any
claim only if he proves all of the elements of that claim.




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                               No. _
 CIVIL RIGHTS—TITLE VII—HOSTILE WORK ENVIRONMENT— HARASSMENT
         BECAUSE OF PROTECTED CHARACTERISTICS—ELEMENTS

        The plaintiff seeks damages against the defendant for a racially hostile work environment
while employed by the defendant. In order to establish a racially hostile work environment, the
plaintiff must prove each of the following elements by a preponderance of the evidence:

       1.      the plaintiff was subjected to slurs, insults, jokes or other verbal comments or
physical contact or intimidation of a racial nature

       2.      the conduct was unwelcome;

        3.     the conduct was sufficiently severe or pervasive to alter the conditions of the
plaintiff’s employment and create a racially abusive or hostile work environment;

       4.      the plaintiff perceived the working environment to be abusive or hostile; and

       5.     a reasonable African American man in the plaintiff’s circumstances would
consider the working environment to be abusive or hostile.

        Whether the environment constituted a racially work environment is determined by
looking at the totality of the circumstances, including the frequency of the harassing conduct, the
severity of the conduct, whether the conduct was physically threatening or humiliating or a mere
offensive utterance, and whether it unreasonably interfered with an employee’s work
performance.




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                                      No. _
                        “SEVERE AND PERVASIVE” EXPLAINED

        “Severe or pervasive” means conduct that alters the conditions of employment and
creates a work environment that is hostile, intimidating, offensive, oppressive, or abusive.

       In determining whether the conduct was severe or pervasive, you should
consider all the circumstances, including any or all of the following:

        (a) The nature of the conduct;
        (b) How often, and over what period of time, the conduct occurred;
        (c) The circumstances under which the conduct occurred;
        (d) Whether the conduct was physically threatening or humiliating.

       Mr. Diaz does not have to prove that his productivity has declined. It is sufficient to
prove that a reasonable person who was subjected to the harassing conduct would find that the
conduct so altered working conditions as to make it more difficult to do the job.

       A single incident can be sufficiently severe or pervasive to constitute harassment.




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                              No. _
   CIVIL RIGHTS—TITLE VII—HOSTILE WORK ENVIRONMENT CAUSED BY
    SUPERVISOR—CLAIM BASED ON VICARIOUS LIABILITY—TANGIBLE
             EMPLOYMENT ACTION—AFFIRMATIVE DEFENSE

        An employer may be liable when an employee’s supervisor creates a racially hostile work
environment for that employee. A “supervisor” is someone who is empowered by the employer
to take tangible employment actions regarding the employee, such as hiring, firing, failing to
promote, reassigning with significantly different responsibilities, or significantly changing
benefits.

        The plaintiff claims that he was subjected to a racially hostile work environment by
Tesla, and that Ramon Martinez was his supervisor empowered by Tesla to take tangible
employment actions against the plaintiff.

      The defendant denies the plaintiff’s claim. The plaintiff must prove his claim by a
preponderance of the evidence.




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                                         No. _
                                 “SUPERVISOR” DEFINED

        A “supervisor” is one who exercises immediate (or successively higher) authority over
the employee. Whether someone is a supervisor is not dependent upon job titles or formal
structures within the workplace, but rather upon whether a supervisor has the authority to
demand obedience from an employee.




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                              No. _
  CIVIL RIGHTS—TITLE VII—“TANGIBLE EMPLOYMENT ACTION” DEFINED

        Tangible employment actions are the means by which a supervisor brings the official
power of the enterprise to bear on subordinates. A tangible employment action requires an
official act of the enterprise, a company act. A tangible employment action consists of a
significant change in employment status such as firing, failing to promote, reassignment, a
significant change in responsibilities, undesirable reassignment or a significant change in
benefits.

        A tangible employment action need not be adverse, such as when a supervisor coerces an
employee into engaging in sexual acts by threats of discharge. In such a case, an employee need
not actually suffer discharge or other adverse employment action to demonstrate a tangible
employment action.




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                               No. _
CIVIL RIGHTS—TITLE VII—HOSTILE WORK ENVIRONMENT CAUSED BY NON-
      IMMEDIATE SUPERVISOR OR BY CO-WORKER—CLAIM BASED ON
                           NEGLIGENCE

        The plaintiff seeks damages from the defendant for a hostile work environment caused by
racial harassment. The plaintiff has the burden of proving both of the following elements by a
preponderance of the evidence:

1.     the plaintiff was subjected to a racially hostile work environment by a non-immediate
supervisor or co-worker; and

2.      the defendant or a member of the defendant’s management knew or should have known
of the harassment and failed to take prompt, effective remedial action reasonably calculated to
end the harassment.

        A person is a member of management if the person has substantial authority and
discretion to make decisions concerning the terms of the harasser’s employment or the plaintiff’s
employment, such as authority to counsel, investigate, suspend, or fire the accused harasser, or to
change the conditions of the plaintiff’s employment. A person who lacks such authority is
nevertheless part of management if he or she has an official or strong duty in fact to
communicate to management complaints about work conditions. You should consider all the
circumstances in this case in determining whether a person has such a duty.

       The defendant’s remedial action must be reasonable and adequate. Whether the
defendant’s remedial action is reasonable and adequate depends on the remedy’s effectiveness in
stopping the individual harasser from continuing to engage in such conduct and in discouraging
other potential harassers from engaging in similar unlawful conduct. An effective remedy should
be proportionate to the seriousness of the offense.

        If you find that the plaintiff has proved both of the elements on which the plaintiff has the
burden of proof, your verdict should be for the plaintiff. If, on the other hand, the plaintiff has
failed to prove either of these elements, your verdict should be for the defendant.




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                                No. _
      EMPLOYER’S DUTY TO INVESTIGATE AND TAKE REMEDIAL ACTION

         Employers must take all reasonable steps necessary to prevent harassment from
occurring. When an employer becomes aware of potentially harassing conduct, it has a duty to
promptly investigate and to take immediate and effective corrective action should it determine
that harassment has occurred. Remedial measures need to include immediate corrective action
that is reasonably calculated to 1) end the current harassment and 2) to deter future harassment.
The remedial actions must be designed, in part, to deter future harassment by the same offender
or others.

        Some of the steps employers can take to prevent harassment from occurring include such
things as affirmatively raising the subject, expressing strong disapproval, conducting a timely,
thorough, good faith investigation of allegations of harassment of which the Defendant knew or
had reason to know, developing appropriate sanctions, informing employees of their right to
raise and how to raise the issue of harassment under federal law, and developing methods to
sensitize all concerned.




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                                       No. _
                         FAILURE TO PREVENT HARASSMENT

Owen Diaz claims that Tesla Inc. failed to take all reasonable steps to prevent harassment
based on race. To establish this claim, Mr. Diaz must prove all of the following:

       1. That Mr. Diaz was an employee of Tesla;
       2. That Mr. Diaz was subjected to harassment in the course of employment;
       3. That Tesla failed to take all reasonable steps to prevent the harassment;
       4. That Mr. Diaz was harmed; and
       5. That Tesla’s failure to take all reasonable steps to prevent harassment was a substantial
       factor in causing Mr. Diaz’s harm.




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                                  No. _
            NEGLIGENT SUPERVISION OR RETENTION OF EMPLOYEE

Owen Diaz claims that he was harmed by Ramon Martinez and that Tesla is responsible for that
harm because Tesla negligently supervised or retained Ramon Martinez. To establish this claim,
Owen Diaz must prove all of the following:

       1. That Tesla hired Ramon Martinez;
       2. That Ramon Martinez was or became unfit or incompetent to perform the work for
       which he was hired;
       3. That Tesla knew or should have known that Ramon Martinez was or became unfit or
       incompetent and that this unfitness or incompetence created a particular risk to others;
       4. That Ramon Martinez’s unfitness or incompetence harmed Owen Diaz; and
       5. That Tesla’s negligence in supervising or retaining Ramon Martinez was a substantial
       factor in causing Owen Diaz’s harm.




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                                       No. _
                          CAUSATION: SUBSTANTIAL FACTOR

        A substantial factor in causing harm is a factor that a reasonable person would consider to
have contributed to the harm. It must be more than a remote or trivial factor. It does not have to
be the only cause of the harm.

       Conduct is not a substantial factor in causing harm if the same harm would have occurred
without that conduct.




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                                  No. _
     LIABILITY FOR CIVIL RIGHTS VIOLATIONS BASED ON CONTRACTUAL
                             RELATIONSHIP

        Plaintiff asserts a section 1981 civil rights claim against Tesla, Inc. Plaintiff can prove
this claim by establishing that he was an employee of Tesla, Inc. (See Joint Employer
Instruction) Alternatively, Plaintiff may establish liability against Tesla by showing all of the
following:
                 (i) Plaintiff gained rights or was a beneficiary under a contract,
                 (ii) Tesla engaged in racial discrimination or harassment in the
                 enforcement of the contract, or
                 Tesla failed to take reasonable step(s) to prevent harassment from occurring in
                 the workplace; and
                 (iii) Plaintiff suffered injuries that he would not have suffered but for the
                 defendant’s conduct.

        Plaintiff need not have signed the contract, nor have been a party to the contract, in order
to have rights under the contract. Plaintiff can establish his rights under the contract if he shows
that he received benefits or privileges under the contractual relationship between Tesla and
nextSource or Citistaff, and the benefits or privileges were not incidental or remote.




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                                          No. _
                                     DAMAGES—PROOF

       It is the duty of the Court to instruct you about the measure of damages. By instructing
you on damages, the Court does not mean to suggest for which party your verdict should be
rendered.

       If you find for the plaintiff, you must determine the plaintiff’s damages. The plaintiff has
the burden of proving damages by a preponderance of the evidence. Damages means the amount
of money that will reasonably and fairly compensate the plaintiff for any injury you find was
caused by the defendant. You should consider the following:

       In determining the measure of damages, you should consider:

               The nature and extent of the injuries;

               The loss of enjoyment of life experienced and that with reasonable probability
               will be experienced in the future;

               The mental or emotional pain and suffering experienced and that with reasonable
               probability will be experienced in the future;

               The reasonable value of necessary medical care, treatment, and services that with
               reasonable probability will be required in the future.

       It is for you to determine what damages, if any, have been proved.

       Your award must be based upon evidence and not upon speculation, guesswork or
conjecture.




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                                        No. _
                                 DAMAGES—MITIGATION

       The plaintiff has a duty to use reasonable efforts to mitigate damages. To mitigate means
to avoid or reduce damages.

       The defendant has the burden of proving by a preponderance of the evidence:

           1. that the plaintiff failed to use reasonable efforts to mitigate damages; and

           2. the amount by which damages would have been mitigated.




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                                             No. _
                                      PUNITIVE DAMAGES

        If you find for the plaintiff, you may, but are not required to, award punitive damages.
The purposes of punitive damages are to punish a defendant and to deter similar acts in the
future. Punitive damages may not be awarded to compensate a plaintiff.

       The plaintiff has the burden of proving by a preponderance of the evidence that punitive
damages should be awarded based on his hostile work environment claim or failure to prevent
harassment claim and, if so, the amount of any such damages.

         You may award punitive damages only if you find that the defendant’s conduct that
harmed the plaintiff was malicious, oppressive or in reckless disregard of the plaintiff’s rights.
Conduct is malicious if it is accompanied by ill will, or spite, or if it is for the purpose of injuring
the plaintiff. Conduct is in reckless disregard of the plaintiff’s rights if, under the circumstances,
it reflects complete indifference to the plaintiff’s safety or rights, or if the defendant acts in the
face of a perceived risk that its actions will violate the plaintiff’s rights under federal law. An act
or omission is oppressive if the defendant injures or damages or otherwise violates the rights of
the plaintiff with unnecessary harshness or severity, such as by misusing or abusing authority or
power or by taking advantage of some weakness or disability or misfortune of the plaintiff.

        If you find that punitive damages are appropriate, you must use reason in setting the
amount. Punitive damages, if any, should be in an amount sufficient to fulfill their purposes but
should not reflect bias, prejudice or sympathy toward any party. In considering the amount of
any punitive damages, consider the degree of reprehensibility of the defendant’s conduct,
including whether the conduct that harmed the plaintiff was particularly reprehensible because it
also caused actual harm or posed a substantial risk of harm to people who are not parties to this
case. You may not, however, set the amount of any punitive damages in order to punish the
defendant for harm to anyone other than the plaintiff in this case.

      Punitive damages may be awarded even if you award plaintiff only nominal, and not
compensatory, damages.




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                                         No. _
                                   NOMINAL DAMAGES

        The law that applies to this case authorizes an award of nominal damages. If you find for
the plaintiff but you find that the plaintiff has failed to prove damages as defined in these
instructions, you must award nominal damages. Nominal damages may not exceed one dollar.




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                                           No. _
                                    DUTY TO DELIBERATE

        Before you begin your deliberations, elect one member of the jury as your presiding
juror. The presiding juror will preside over the deliberations and serve as the spokesperson for
the jury in court.

      You shall diligently strive to reach agreement with all of the other jurors if you can do so.
Your verdict must be unanimous.

       Each of you must decide the case for yourself, but you should do so only after you have
considered all of the evidence, discussed it fully with the other jurors, and listened to their views.

       It is important that you attempt to reach a unanimous verdict but, of course, only if each
of you can do so after having made your own conscientious decision. Do not be unwilling to
change your opinion if the discussion persuades you that you should. But do not come to a
decision simply because other jurors think it is right, or change an honest belief about the weight
and effect of the evidence simply to reach a verdict.




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                                  No. _
             CONSIDERATION OF EVIDENCE—CONDUCT OF THE JURY

        Because you must base your verdict only on the evidence received in the case and on
these instructions, I remind you that you must not be exposed to any other information about the
case or to the issues it involves. Except for discussing the case with your fellow jurors during
your deliberations:

        Do not communicate with anyone in any way and do not let anyone else communicate
with you in any way about the merits of the case or anything to do with it. This includes
discussing the case in person, in writing, by phone, tablet, computer, or any other means, via
email, via text messaging, or any internet chat room, blog, website or application, including but
not limited to Facebook, YouTube, Twitter, Instagram, LinkedIn, Snapchat, TikTok, or any other
forms of social media. This applies to communicating with your family members, your
employer, the media or press, and the people involved in the trial. If you are asked or
approached in any way about your jury service or anything about this case, you must respond
that you have been ordered not to discuss the matter and to report the contact to the court.

        Do not read, watch, or listen to any news or media accounts or commentary about the
case or anything to do with it[, although I have no information that there will be news reports
about this case]; do not do any research, such as consulting dictionaries, searching the Internet,
or using other reference materials; and do not make any investigation or in any other way try to
learn about the case on your own. Do not visit or view any place discussed in this case, and do
not use Internet programs or other devices to search for or view any place discussed during the
trial. Also, do not do any research about this case, the law, or the people involved—including
the parties, the witnesses or the lawyers—until you have been excused as jurors. If you happen to
read or hear anything touching on this case in the media, turn away and report it to me as soon as
possible.

        These rules protect each party’s right to have this case decided only on evidence
that has been presented here in court. Witnesses here in court take an oath to tell the truth, and
the accuracy of their testimony is tested through the trial process. If you do any research or
investigation outside the courtroom, or gain any information through improper communications,
then your verdict may be influenced by inaccurate, incomplete or misleading information that
has not been tested by the trial process. Each of the parties is entitled to a fair trial by an
impartial jury, and if you decide the case based on information not presented in court, you will
have denied the parties a fair trial. Remember, you have taken an oath to follow the rules, and it
is very important that you follow these rules.

        A juror who violates these restrictions jeopardizes the fairness of these proceedings[, and
a mistrial could result that would require the entire trial process to start over]. If any juror is
exposed to any outside information, please notify the court immediately.




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                                    No. _
                           COMMUNICATION WITH COURT

        If it becomes necessary during your deliberations to communicate with me, you may send
a note through the deputy, signed by any one or more of you. No member of the jury should ever
attempt to communicate with me except by a signed writing. I will not communicate with any
member of the jury on anything concerning the case except in writing or here in open court. If
you send out a question, I will consult with the lawyers before answering it, which may take
some time. You may continue your deliberations while waiting for the answer to any question.
Remember that you are not to tell anyone—including the court—how the jury stands, whether in
terms of vote count or otherwise, until after you have reached a unanimous verdict or have been
discharged.




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                                         No. _
                                   RETURN OF VERDICT

       A verdict form has been prepared for you. [Explain verdict form as needed.] After you
have reached unanimous agreement on a verdict, your [presiding juror] [foreperson] should
complete the verdict form according to your deliberations, sign and date it, and advise the deputy
that you are ready to return to the courtroom.




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